Case 6:12-cr-00001-JRH-CLR Document 521 Filed 05/08/15 Page 1 of 3


                                                                                                                                                                       u.u.o,fi'hFP
                                                                                                                                                                        AU0usIA
                      IN         THE UNITED STATES DISTRICT     COT'RT FOR TIIE                                                                                                                 0
                                      SOUTHERN DISTRICT   OF GEORGIA
                                           STATESBORO  DIVISION
                                                                                                                                                                              -8 PX
                                                                                                                                                                       20ltilAY
UNITED STATES OF AMERICA

                                                                                                    *            aD     al?-nol
          vs.

ZIKOMO TAHEAMBOSTIC


                                                                                     ORDER




           Before                      the              Court                     rs          Defendant's                      "motlon                      to         correct
                                                                                  r c                                    y-)r^       r,lrh-           ..1^-  ^F:f         iI v^ r^ r r    z
                         F^      -t       ^"     i, F
                                                    - r)r/ lu--a- r- r r t -               inlanr             /nrrnr-                                 usJ!9rrqL



which           the             Court                  const.rues as                                    a petition                   for             habeas relief

under 28 U,S.C.                                    S 2241.                         (Doc. no.                    515.)          For the                      reasons set

r^--F          r^^r^ ih                        rh6         ^-tiLion                        is       DISMISSED.


           Petitioner                                 is              confined                          at      the          Federa.L Corr.ectional

Institute                       Co]eman Low in Coleman, Florida,                                                                  which is located                                       in

the Middfe District                                              of Fforida.                             (See id.)             On October 10, 24L2,

this        Court                 sentenced                                 him to                  95 months imprisonment,                                              to              be

served consecutive. y Lo the                                                                       revoked scace probation                                             term he
                                                                                 ^^,,^r.i               /^^a*^i1\              C
rrr<    < o r r r ivnr d" \ j         irn- r    -t rr m
                                                      L Lr e
                                                           h rl r, ^u lt j - L   tuurrLy                \\rEiJt 9f      d/     u *r Ir JncFLr i ^ r- v !    C..]ttrr         aase


numbers 09CR20A and 09CR108. (Doc, no.                                                                                         362.J                   On March 12,

?n1q           pariri^nor                               <^rr^hr-                  ral        iaf         in     thiq         farrrr               qaaki          n.r    .re.li            I
                                                        rvqYrrL




fnr     f ime <arrrprl                                i n.\c. no.                       516.)            He "befieved                        that           he would                     be

ni rzor nrcdi I                         f,.'\r +ime served                                         on his         federa]               sentence                   from           hls

srate         senLence, " and moves the CourL for                                                                            "a corrected                          ludgmenL

:r      -^mmi            t -m a n t                                                rL-urr rL n n    her-k        .rn    r ho       d-are              n F    qFnrcna                     na_t
                                                                       P!v                   v
Case 6:12-cr-00001-JRH-CLR Document 521 Filed 05/08/15 Page 2 of 3



to              show credit                     for        tlme          served."                    (Id.)             However,            he        does           not

alfege                  that            he exhausted                          administr.ative                           remedies.

                  A cLaim for                        credit              for          time           served is                  properly                brought

under 28 U.S.C. S 224I in the distrlct                                                                           of incarceration                             after

the              exhaustlon                     of       administrative                              remedies.                 United              States             v.

l\lrzhrri< '                                                         1?,4q            /11           ^i   v
:.i--:-!:!:-+-:/         _? 1- 1        tr   ?.1 1 11.                                                                             If     l-he       ner       irion
                                                                                                                 "nool

is filed                   in another districc,                                        r-he court where relief                                      -Ls soughL

mrrr             .-li <mi<<              t ho      nor-i       r-i ^.          f^r          l:r-k         nf      nar<r-rn:l              irrri      qd      irri     on


                                                                                                                         -L5     ^al- il- i -\n            - /-\ l-1^a
v^ v\ sz !a f     ^a'
                  usL
                          ir    innar,<                 -r1<r- -/1iar                  nr      r r.ancfcr


distrjct                       where            peLiLioner                      is          confined.                   Wlffians               v.       Rivera,

2011 WL 7005735, at *1                                               (S.D. Ga. Dec. 12, 2011) (transferring,

rather                  than             dismissing,                          S 224I                petition               to      district                   where

n-iqnra-                        <       in      -rrqi- ^-lrr         r.rhc-o           n-icrrna.                 Aj-tached              dOcumentat                   iOn


showing exhaustion of administraL ive remedies);                                                                                        Paye v. Unit-ed

States,                        2001               WL            21177I4,                       *1              (S.D.            ca.                Ju] .            25,

2007) (disnissing,                                      rather                chan transferring,                                S 2247 petiLion

fo-               lar-k            nf        - r r r r < . 1i / . r i ^ " )          r",'ho-e            ^rr     s.ner          faifed               tO             ShOw

exhaustion                          of       administratjve                            remedies) .

                  Horo                  pa- i i-r /-\na-                 .h^         | | Fn.l6s                I l^e      executi          on           oI          his

                                rather               than          its         validity,                       and      therefore                  the        Court

construes                       fhe          fiIino             as       a oet-ition                      under           S 224L.              Petitioner

fifed              the acrion                      in     this          CoLrL,              where he was senLenced,                                        rather

than               in          the           Middle             District                     of          Florida,               where              he        is       in

                                'l'hrr<                 I h6         a^,irl-                l:nlz<              irrri     cd inr        i nn   .        DeL ctu5 c
Case 6:12-cr-00001-JRH-CLR Document 521 Filed 05/08/15 Page 3 of 3



Petitioner:                            failed         to        allege       exhaustion               of        administratlve

remedjes with                               the Bureau of               Prisons,            the Court DISMISSES the

petiL-on                            rather      rhan        cransferring                Lhe case                    Lo the        proper

court.                     Petitioner                 is        advised       that          he       may        file        a     proper

.,Ff if i rrn rlrrrsrrAnf                        to        28    U.S.C.       S 224I         wl-lhL the             United        States

District                            Court     for          the      Middle         District               of        Fforida           after

a                                                                                                         lar'.'^      -hrn|nl-           j-ha
s ^v rhr=a , r curri n ua r r r Y     +ho    r^mini<rr:rirra                  rcmodrr        ^\rri


 fo.la         re I         nri      qnn     c\7<tam.



                  IT IS ORDEREDthat                             Defendant's          motion          to correct
                                                                                                                                  q
 I Ae,r               no.            515),      construed               as a petition                 under            28    Tr       a       €



224r, is                            DISMISSED. Defendant's                         motion            to        reduce        sent ence

                                    hl1\     romrln<            nardi   rn     n    .rhiq     f-nrrr.r



                 ORDER ENTERED at                               AugusLa,       Ceorgia.              Lhis

                  2Ar5




                                                                             UNITED STA               S DISTRICT JUDGE
